Opinion issued August 22, 2024




                                          In The

                                Court of Appeals
                                          For The

                           First District of Texas
                              ————————————
                                NO. 01-24-00339-CV
                             ———————————
                             LEE RONGER, Appellant
                                            V.
                       MEMORIAL FALLS LLP, Appellee


             On Appeal from the County Civil Court at Law No. 3
                           Harris County, Texas
                       Trial Court Case No. 1223273


                           MEMORANDUM OPINION

      Appellant, Lee Ronger, filed a notice of appeal from the trial court’s April 16,

2024 final judgment. Appellant has failed to timely file a brief. See TEX. R. APP. P.

38.6(a) (governing time to file brief).
      The clerk’s record was filed on May 14, 2024, and on May 21, 2024, the court

reporter notified the Court that no record was taken in this case. Accordingly,

appellant’s brief was due to be filed on or before June 20, 2024. See TEX. R. APP. P.

38.6(a). Appellant did not file an appellant’s brief.

      On June 27, 2024, the Clerk of this Court notified appellant that this appeal

was subject to dismissal unless a brief, or a motion to extend time to file a brief, was

filed within ten days of the notice. See TEX. R. APP. P. 38.8(a) (governing failure of

appellant to file brief), 42.3(b) (allowing involuntary dismissal of appeal for want of

prosecution), 42.3(c) (allowing involuntary dismissal of case for failure to comply

with notice from Clerk of Court). Despite the notice that this appeal was subject to

dismissal, appellant did not adequately respond to the June 27, 2024 notice.

      Accordingly, we dismiss the appeal for want of prosecution. See TEX. R. APP.

P. 42.3(b), 43.2(f). We dismiss any pending motions as moot.

                                   PER CURIAM

Panel consists of Chief Justice Adams and Justices Hightower and Countiss.




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